                     Case 1:16-cr-00751-LGS Document 53 Filed 10/21/20 Page 1 of 1
                                                     U.S. Department of Justice

                                                               United States Attorney
                                                               Southern District of New York
                                                               The Silvio J. Mollo Building
                                                               One Saint Andrew’s Plaza
                                                               New York, New York 10007

                                                               October 19, 2020

            BY ECF
            Hon. Lorna G. Schofield
            Thurgood Marshall U.S. Courthouse
            40 Foley Square
            New York, New York 10007

                                         Re: United States v. Valerie Volsky
                                                 16 Cr. 751 (LGS)
            Dear Judge Schofield:
                    Now that all defendants have been sentenced in United States v. Vaid et al., the parties
            respectfully request that this case, which was reassigned to Your Honor on October 14, 2020, be
            scheduled for sentencing, in approximately January 2021. 1
                   The Government has informed the Probation Office that we will provide to the Probation
            Office a draft of our 5K motion by October 23, 2020.

Application Granted. The Probation Office shall conduct a
Presentence investigation and prepare a Presentence Report.    Respectfully submitted,
Defendant Volsky's sentencing hearing shall be held on
February 17, 2021 at 11:00 a.m. The Government’s pre-          AUDREY STRAUSS
sentencing submission, if any, shall be filed by January 25,   Acting United States Attorney
2021. Defendant's pre-sentencing submission shall be filed
by January 28, 2021. The Clerk of the Court is directed to By:    S/
terminate the letter motion at docket number 52.               David Raymond Lewis
                                                               Stephen J. Ritchin
                                                               Timothy V. Capozzi
Dated: October 21, 2020
                                                               Assistant United States Attorneys
New York, New York
                                                               (646) 787-5645
            cc:      Alexandra V. Tseitlin, Esq.




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             Prior to reassignment of this case to Your Honor, the parties wrote a letter to Judge Jesse M.
            Furman, requesting a sentencing date. Following reassignment, an endorsement of the letter to
            Judge Furman was filed on ECF. See Dkt. No. 51 (scheduling a sentencing before Judge Furman
            on January 12, 2021). Following that filing, Judge Furman’s Courtroom Deputy advised the
            parties that the endorsement was filed in error and recommended that the parties contact Your
            Honor to set a sentencing date.
